892 F.2d 1046
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Steven C. KELLY, Plaintiff-Appellant,v.UNITED STATES of America, Department of the Army,Defendants-Appellees.
    No. 88-1741.
    United States Court of Appeals, Ninth Circuit.
    Submitted Sept. 1, 1989.*Decided Dec. 15, 1989.
    
      Before JAMES R. BROWNING, KOZINSKI, and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      We affirm the judgment for the reasons stated in the district court's order of February 4, 1988.
    
    
      
        *
         The panel finds this case appropriate for submission without argument pursuant to 9th Cir.R. 34-4 and Fed.R.App.P. 34(a)
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    